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 1   Victoria L. Nelson, Chapter 7 Trustee             Electronically Filed On: November 2, 2017
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 2   1180 North Town Center Drive, Suite 100
     Las Vegas, Nevada 89144
 3   Telephone: 702/720-3374
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 4
 5   Chapter 7 Trustee

 6
 7
 8                            UNITED STATES BANKRUPTCY COURT

 9                                      DISTRICT OF NEVADA

10       In re:                                        Case No. BK-S-17-12731-ABL
                                                       Chapter 7
11       DORON MASHAL and
         SHIRAH GOODMAN-MASHAL,                        REPORT OF SALE PURSUANT TO
12                                                     FEDERAL RULE OF BANKRUPTCY
                       Debtors.                        PROCEDURE 6004(f)
13
                                                       Date of Hearing:       N/A
14
                                                       Time of Hearing:       N/A
15
                                                       Judge: Honorable August B. Landis1
16
17            VICTORIA L. NELSON, the appointed Chapter 7 Trustee in the above-captioned

18   bankruptcy case (the “Trustee”) hereby files this Report of Sale Pursuant to Federal Rule of

19   Bankruptcy Procedure 6004(f) (the “Report of Sale”).

20            On September 1, 2017, the Trustee filed a Motion to Approve Sale of the Real Property

21   Located At 10710 Hobbiton Avenue, Las Vegas, Nevada 89144-0000 [APN 164-12-213-019]

22   Pursuant to 11 U.S.C. § 363 [ECF No. 71] (the “Motion to Sell”). The Motion to Sell sought

23   authority to sell the real property located at 10710 Hobbiton Avenue, Las Vegas, Nevada 89135

24   [APN 164-12-213-019] (the “Property”)2.

25
     1
26    All references to “ECF No.” are to the numbers assigned to the documents filed in the case as they
     appear on the docket maintained by the clerk of the court.
27
     2
      The description of the Property contained the incorrect zip code in the Motion to Sell, but was
28
     corrected at the hearing on the Motion to Sell and in the order approving the same.
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 1          On October 16, 2017, the Court entered an Order Granting Motion to Approve Sale of the

 2   Real Property Located At 10710 Hobbiton Avenue, Las Vegas, Nevada Pursuant to 11 U.S.C. §

 3   363 [ECF No. 93] (the “Sale Order”).

 4          Federal Rule of Bankruptcy Procedure 6004(f) requires a Chapter 7 Trustee to file an

 5   itemized statement of property that is sold not in the ordinary course of business:

 6                  All sales not in the ordinary course of business may be by private sale
                    or by public auction. Unless it is impracticable, an itemized
 7                  statement of the property sold, the name of each purchaser, and the
                    price received for each item or lot or for the property as a whole if
 8                  sold in bulk shall be filed on completion of a sale. If the property is
                    sold by an auctioneer, the auctioneer shall file the statement, transmit
 9
                    a copy thereof to the United States trustee, and furnish a copy to the
10                  trustee, debtor in possession, or chapter 13 debtor.

11   See FED. R. BANKR. P. 6004(f).

12          On October 24, 2017, the sale of the Property was finalized and generated net sale proceeds

13   in the amount of $54,786.69 (the “Proceeds”). Attached hereto and marked as Exhibit “1” is a true

14   and correct copy of the Final Closing Statement.

15          Dated this 2nd day of November, 2017.

16                                                      CHAPTER 7 TRUSTEE

17
                                                        By: /s/ Victoria L. Nelson
18                                                      Victoria L. Nelson, Chapter 7 Trustee
                                                        Email: trustee@federalbankruptcytrustee.com
19                                                      1180 North Town Center Drive, Suite 100
                                                        Las Vegas, Nevada 89144
20                                                      Telephone: 702/720-3374
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